Case 2:04-CV-02616-SHI\/|-tmp Document 35 Filed 07/15/05 Page 1 of 2 ?Page|D 55

 

IN THE UNITED sTATEs DISTRICT coUR'r m B¥__,_ _o.
FoR THE wEsTERN DISTRICT oF TENNESSEE _ `
wEsTERN DIvIsIoN 95 JUL 15 Amg, 58
H'U‘MSMG(HQ
US-Dfsracroozm
RENATA sEIFERT, AND HoRsT OF fi‘i*"»f‘c`h»H#S
sEIFERT,
Plaintiffs,
vs. Civ. Nb. 04-2616-Ma[P

MUSA HOLDINGS, INC., LASER
VISION INSTITUTE d/b/a LASIK
VISION INSTITUTE; and

DAVID S. MURPHY, M.D.,

Defendants.

 

ORDER DENYING AS MOOT PLAINTIFFS’ MOTION TO
COMPEL CLASS ACTION DISCOVERY

 

Before the court is Plaintiffs' Motion to Compel Class Action
Discovery, filed May l3, 2005 (Dkt #26). The court was informed on
July 14, 2005, via telephone by defendants’ attorney, Brian
Faughnan, that the ease has settled. Therefore, plaintiffs’ motion
is DENIED as MOOT.

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

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This notice confirms a copy of the document docketed as number 35 in
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EssEE

 

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Honorable Samuel Mays
US DISTRICT COURT

